






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-573 CR


____________________



RENEA ROACHE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 89762






MEMORANDUM OPINION (1)


	Renea Roache was convicted and sentenced on an indictment for delivery of a
simulated controlled substance.  Roache filed a notice of appeal on December 9, 2003. 
The trial court entered a certification of the defendant's right to appeal in which the court
certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex.
R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court of
Appeals by the district clerk.

	On December 11, 2003, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered January 15, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


